
805 So.2d 924 (2001)
A.B., Appellant,
v.
STATE of Florida, Appellee.
No. 2D00-2932.
District Court of Appeal of Florida, Second District.
October 31, 2001.
James Marion Moorman, Public Defender, and Joanna B. Conner and John C. Fisher, Assistant Public Defenders, Bartow, for Appellant.
Robert A. Butterworth, Attorney General, Tallahassee, and Ronald Napolitano, Assistant Attorney General, Tampa, for Appellee.
BLUE, Chief Judge.
In this appeal brought pursuant to Anders v. California, 386 U.S. 738, 87 S.Ct. 1396, 18 L.Ed.2d 493 (1967), we have *925 found no error in the adjudication of A.B.'s delinquency for possession of marijuana and possession of drug paraphernalia. There is, however, a problem with the disposition order. When multiple offenses constitute the basis of a delinquency adjudication, the trial court must enter a separate disposition order for each offense. P.J.C. v. State, 730 So.2d 791, 792 (Fla. 2d DCA 1999). Additionally, the period of commitment imposed may not exceed the maximum term of imprisonment that an adult could serve for the same offense. § 985.231(1)(a)(8), Fla. Stat. (1999). Therefore, we reverse the disposition order and remand for the trial court to enter separate orders of disposition for each offense that do not impose commitment beyond the comparable adult sanction.
Affirmed in part, reversed in part, and remanded with directions.
GREEN and DAVIS, JJ., Concur.
